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The following constitutes the ruling of the court and has the force and effect therein described.




Signed March 16, 2021
______________________________________________________________________




                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION

         In re:                                                         §
                                                                        §   Chapter 11
         HIGHLAND CAPITAL MANAGEMENT, L.P., 1                           §
                                                                        §   Case No. 19-34054-sgj11
                                          Debtor.                       §
                                                                        §
         HIGHLAND CAPITAL MANAGEMENT, L.P.,                             §
                                                                        §
                                          Plaintiff,                    §   Adversary Proceeding No.
                                                                        §
         vs.                                                            §   21-03006-sgj11
                                                                        §
         HIGHLAND CAPITAL MANAGEMENT                                    §
         SERVICES, INC.,                                                §
                                                                        §
                                          Defendant.

               ORDER APPROVING STIPULATION REGARDING SCHEDULING ORDER

                  Upon consideration of the Stipulation and Proposed Scheduling Order (the “Stipulation”)2

     by and between Highland Capital Management, L.P., as debtor-in-possession (the “Debtor”), and


     1
       The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
     for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
     2
       Capitalized terms not otherwise defined in this Order shall have the meanings ascribed to them in the Stipulation.
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  Highland Capital Management Services, Inc. (“HCMS”, and together with the Debtor, the

  “Parties”), it is HEREBY ORDERED THAT:

         1.      The Stipulation, a copy of which is attached hereto as Exhibit A, is APPROVED.

         2.      The Stipulation shall become effective immediately upon entry of this Order.

         3.      With respect to the Adversary Proceeding, the Parties shall abide by the following

  pretrial schedule (the “Joint Pretrial Schedule”) in lieu of that provided in the Alternative

  Scheduling Order:

                                       Joint Pretrial Schedule

         Event                                         Deadline

         1. Service of Written Discovery Requests      May 10, 2021
         2. Service of Written Responses to            June 14, 2021
         Discovery
         3. Completion of Fact Discovery               July 5, 2021
         4. Expert Disclosures                         July 16, 2021
         5. Completion of Expert Discovery             August 2, 2021
         6. Dispositive Motions                        August 16, 2021
         7. Exhibit and Witness Lists                  September 20, 2021
         8. Joint Pretrial Order                       September 27, 2021
         9. Proposed Findings of Fact and              September 27, 2021
         Conclusions of Law
         10. Trial Docket Call                         October 4, 2021 at 1:30 p.m. (CT)


         4.      The Joint Pretrial Schedule set forth in this Order shall only be modified in a writing

  signed by the Parties or upon the entry of an order of the Court entered upon notice to the Parties.

         5.      The Court shall retain jurisdiction over all disputes arising out of or otherwise

  concerning the interpretation and enforcement of this Order.

                                         ###End of Order###




                                                   2
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                                 EXHIBIT A
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  Ira D. Kharasch (CA Bar No. 109084) (admitted pro hac vice)
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  Counsel for Highland Capital Management, L.P.

  -and-

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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

      In re:                                                        §
                                                                    §   Chapter 11
      HIGHLAND CAPITAL MANAGEMENT, L.P., 1                          §
                                                                    §   Case No. 19-34054-sgj11
                                       Debtor.                      §
                                                                    §
      HIGHLAND CAPITAL MANAGEMENT, L.P.,                            §
                                                                    §
                                       Plaintiff,                   §   Adversary Proceeding No.
                                                                    §
      vs.                                                           §   21-03006-sgj11
                                                                    §
      HIGHLAND CAPITAL MANAGEMENT                                   §
      SERVICES, INC.,                                               §
                                                                    §
                                       Defendant.


                       STIPULATION AND PROPOSED SCHEDULING ORDER

               This stipulation (the “Stipulation”) is made and entered into by and between Highland

  Capital Management, L.P., as debtor-in-possession (the “Debtor”), and Highland Capital

  Management Services, Inc. (“HCMS” or “Defendant”, and together with the Debtor, the “Parties”),

  by and through their respective undersigned counsel.

                                                     RECITALS

               WHEREAS, on October 16, 2019 (the “Petition Date”), the Debtor filed a voluntary

  petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)

  in the Bankruptcy Court for the District of Delaware, Case No. 19-12239 (CSS) (the “Delaware

  Court”);

               WHEREAS, on December 4, 2019, the Delaware Court entered an order transferring venue


  1
   The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
  for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.

                                                           2
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  of the Debtor’s bankruptcy case (the “Bankruptcy Case”) to this Court;

             WHEREAS, on January 22, 2021, the Debtor commenced the above-captioned adversary

  proceeding (the “Adversary Proceeding”) against HCMS by filing its complaint [Docket No. 1]

  (the “Complaint”) 2;

             WHEREAS, on January 25, 2021, the Court issued its Order Regarding Adversary

  Proceedings Trial Setting and Alternative Scheduling Order [Docket No. 3] (the “Alternative

  Scheduling Order”);

             WHEREAS, on March 3, 2021, HCMS filed its answer to the Debtor’s Complaint [Docket

  No. 6] (the “Answer”);

             WHEREAS, the Parties have conferred and desire to enter into a mutually agreeable

  proposed schedule, as specifically set forth below.

             NOW, THEREFORE, it is hereby stipulated and agreed, and upon approval of this

  Stipulation by the Court, it shall be SO ORDERED:

             1.      The Parties agree to the following schedule (the “Proposed Joint Scheduling

  Order”) in lieu of that provided in the Alternative Scheduling Order:

                                        Proposed Joint Scheduling Order

             Event                                              Deadline

             1. Service of Written Discovery Requests           May 10, 2021
             2. Service of Written Responses to                 June 14, 2021
             Discovery
             3. Completion of Fact Discovery                    July 5, 2021
             4. Expert Disclosures                              July 16, 2021
             5. Completion of Expert Discovery                  August 2, 2021
             6. Dispositive Motions                             August 16, 2021
             7. Exhibit and Witness Lists                       September 20, 2021
             8. Joint Pretrial Order                            September 27, 2021


  2
      Refers to the docket number maintained in the Adversary Proceeding.

                                                            3
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          9. Proposed Findings of Fact and September 27, 2021
          Conclusions of Law
          10. Trial Docket Call            October 4, 2021 at 1:30 p.m. (CT)


          2.      If approved by the Court, the Proposed Joint Scheduling Order shall only be

  modified in a writing signed by the Parties or upon the entry of an order of the Court entered upon

  notice to the Parties.

          3.      The Court shall retain jurisdiction over all disputes arising out of or otherwise

  concerning the interpretation and enforcement of this Stipulation.

                               [Remainder of Page Intentionally Blank]




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  Dated: March 11, 2021.
                                      WICK PHILLIPS GOULD & MARTIN, LLP

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                                      Services, Inc.

                                      - and -

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                                      - and -




                                          2
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                                      HAYWARD PLLC

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                                      Counsel for Highland Capital Management, L.P.




                                          3
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                                                              United States Bankruptcy Court
                                                                Northern District of Texas
Highland Capital Management, L.P.,
      Plaintiff                                                                                                        Adv. Proc. No. 21-03006-sgj
Highland Capital Management Services, In,
      Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0539-3                                                  User: mmathews                                                              Page 1 of 2
Date Rcvd: Mar 16, 2021                                               Form ID: pdf001                                                            Total Noticed: 4
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Mar 18, 2021:
Recip ID                 Recipient Name and Address
ust                    + Cheryl Wilcoxson, US Trustee, 1100 Commerce St., Ste. 976, Dallas, TX 75242-0996

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
ust                    + Email/Text: ustpregion06.ty.ecf@usdoj.gov
                                                                                        Mar 16 2021 22:17:00      US Trustee, Office of the U.S. Trustee, 110 N.
                                                                                                                  College Ave., Suite 300, Tyler, TX 75702-7231
ust                    + Email/Text: ustpregion07.hu.ecf@usdoj.gov
                                                                                        Mar 16 2021 22:17:00      US Trustee, Office of the US Trustee, 515 Rusk
                                                                                                                  Ave, Ste 3516, Houston, TX 77002-2604
ust                    + Email/Text: ustpregion06.da.ecf@usdoj.gov
                                                                                        Mar 16 2021 22:17:00      United States Trustee, 1100 Commerce Street,
                                                                                                                  Room 976, Dallas, TX 75242-0996

TOTAL: 3


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
ust                            Sandra Nixon, U.S. Trustee
ust                            mario zavala
ust              *+            US Trustee, Office of the U.S. Trustee, 110 N. College Ave., Suite 300, Tyler, TX 75702-7231

TOTAL: 2 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Mar 18, 2021                                            Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
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District/off: 0539-3                                             User: mmathews                                                         Page 2 of 2
Date Rcvd: Mar 16, 2021                                          Form ID: pdf001                                                       Total Noticed: 4
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on March 16, 2021 at the address(es) listed
below:
Name                            Email Address
Lauren Kessler Drawhorn
                                on behalf of Defendant Highland Capital Management Services Inc. lauren.drawhorn@wickphillips.com,
                                samantha.tandy@wickphillips.com

Zachery Z. Annable
                                on behalf of Plaintiff Highland Capital Management L.P. zannable@haywardfirm.com


TOTAL: 2
